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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC,

            Plaintiff,
    v.
                                    Civil Action No. 7:21-cv-2777
SONEA GRIFFITHS,

            Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION TO ATTACH DEFENDANT’S
         BANK ACCOUNTS OR FOR A PRELIMINARY INJUNCTION

                            EXHIBIT B
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                                            March 8, 2021 Call

                                  Parties: Devin Konopa, Sonea Griffiths



DK: Uhm, so, our bank, uh, informed us that they have returned the funds to the original, uhm, accounts
that sent them. Uh, I was just wondering if you’ve received those or not.

SG: I don’t receive anything. I have no idea what you’re talking about. I haven’t received anything.

DK: Okay, you haven’t received anything yet. Okay, if you, uhm, do end up receiving anything, uhm …
Well, actually first, do you have any contacts at your bank that we could speak to about this by any
chance?

SG: Uh, I think you have the information, so you could always call.

DK: What was that?

SG: You have the information, right?

DK: Uh, yeah, I have the general information for the bank. I don’t have, uh … I didn’t know if you had,
like, someone there in particular that talked to you about any of the recent transactions or not.

SG: I had one person that talked to me, but he wasn’t very nice.

DK: Do you happen to have his contact info?

SG: Uh, no, I don’t have it with me right now.

DK: Okay, no worries. Uhm, if that money does end up showing back up in your account, uhm, uh,
obviously you received the Bitcoin already. Uhm, are you okay with sending us, uhm, that back if that
happens?

SG: Uhm, no, I don’t think so. Because, uh, the money was illegal, and everything was illegally done, so…

DK: What do you mean?

SG: I don’t see what the … I don’t see what the problem is with the bank and what’s going on.

DK: What do you mean the money was illegal and illegally done?

SG: I’m just … Okay. You guys are … [second this happens???] everyday was illegal, right? And it’s illegal.

DK: No…

SG: So I don’t know what the problem is.

DK: We, we sell Bitcoin, right, for US dollars or vice versa. Uhm, we’re fully regulated company,
registered as an MSB with, you know, full AML and KYC. We haven’t done anything illegal. The bank
contacted us saying that there was some accusation of fraud from one of our customers. And, uh, we’re
just trying to figure out, you know, what they’re talking about, because so far, you know, talking with
you and all of our other customers, nobody seems to have been wronged here.
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SG: Yeah, that’s what I’m saying. So I don’t understand the, the problem.

DK: Yeah, so that’s…

SG: I really don’t understand the problem.

DK: … We, we don’t understand the problem either. We’re just trying to get to the bottom of it. Uhm…

SG: Okay. ‘Cuz I’m thinking…

DK: And we just, we just wanted to make sure that if our, you know, funds were returned by the bank
for, I don’t know, some sort of misunderstanding or something, that …

SG: No, uh…

DK: … they wouldn’t just disappear.

SG: …I, I don’t know what’s going on. I, uh, I have no idea what’s going on, so…

DK: Okay, well if you could keep an eye out for those…

SG: …Mostly letting you know.

DK: Yeah, let me know if those are returned. That would be great. Uhm, or if you happened to have the
contact of anyone at the bank that we could ask about his matter. And, just to clarify – you, you said you
didn’t, uhm, initiate this, correct? This wasn’t coming from your end at all?

SG: No.

DK: Okay.

SG: Not from my end.

DK: Okay.

SG: Alright?

DK: Alright, thank you so much for your time.

SG: Thank you. Alright, bye-bye.

DK: Bye.
